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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

SABRA M. WILSON, ET AL.                                 CIVIL ACTION

VERSUS                                                  NO. 16-1356

TAKATA CORPORATION, ET AL.                              SECTION “B”(3)

                           ORDER AND RASONS

     Defendants Nissan North America, Inc. (“NNA”) and Nissan

Motor Company, Ltd. (“NML”) (collectively “Nissan”) filed a motion

for partial summary judgment. Rec. Doc. 12. Plaintiffs filed a

response in opposition. Rec. Doc. 18. Defendants sought, and were

granted, leave to file a reply. Rec. Doc. 37.

     For the reasons discussed below,

     IT IS ORDERED that defendants’ motion for partial summary

judgment on damages is GRANTED, dismissing plaintiffs’ claim for

punitive damages.

            FACTUAL BACKGROUND AND PROCEDURAL HISTORY

     Plaintiff Sabra Wilson alleges that she was driving her 2006

Nissan Sentra in Montz, Louisiana on March 21, 2015 when, during

“stop-and-go” slowed traffic due to heavy smoke from a nearby marsh

fire, she inadvertently rear-ended a vehicle in front of her. Rec.

Doc. 11-5 at 287; Rec. Doc. 2 at 7. As a result of the impact,

plaintiffs allege that the vehicle’s front, passenger side airbag

deployed violently and with overly excessive force and sound,

expelling hot metal shrapnel and other parts of the inflator into


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the interior of the vehicle, striking Ms. Wilson’s right side,

face, and hands and causing her serious injuries. Id; Rec. Doc. 2

at 8. Plaintiffs also allege that the explosion resulted in

significant and permanent property damage to the vehicle, owned by

plaintiff William R. Wilson, and rendered the vehicle economically

infeasible to repair. Rec. Doc. 11-5 at 288; Id. Plaintiffs were

citizens of Saint Charles Parish, Louisiana at the time of the

accident and the subject vehicle was purchased by Mr. Wilson in

Metairie, Louisiana. Rec. Doc. 12-1 at 2.

     This case was transferred to the Southern District of Florida

as part of the ongoing multidistrict litigation regarding Takata

airbag products on March 2, 2016. Rec. Doc. 6. As directed by the

MDL court, a Second Amended Consolidated Personal Injury Track

Complaint (“SACC”) was filed that consolidated the claims of all

personal   injury   plaintiffs   in       the   multidistrict   litigation,

including the plaintiffs in this case. Rec. Doc. 11-5. The SACC

asserted negligence and strict liability claims against Nissan

defendants, “including design defect, manufacturing defect, and

failure to warn, under the common law of the state whose law

applies to the underling Personal Injury Track action or the

statutory law of such state, including but not limited to the

Louisiana Products Liability Act.” Rec. Doc. 11-5 at 209; Rec.

Doc. 11-6 at 11-12. Plaintiffs seek damages for bodily injury,

pain and suffering, physical impairment, mental anguish, past and

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future loss of capacity for enjoyment, past and future medical

expenses, past lost wages and future lost wage-earning capacity,

and damage to the vehicle. Rec. Doc. 11-6 at 11-12. Plaintiffs

also   seek   punitive   damages.    Id.   The   Takata   defendants   were

dismissed from this case on May 14, 2018 (Rec. Doc. 30), and the

case was subsequently remanded back to this Court on November 19,

2018. Rec. Doc. 10.

        Defendants now file the instant motion for partial summary

judgment to dismiss plaintiffs’ claim for punitive damages with

prejudice.    Rec.   Doc.   12.   Plaintiffs     filed   an   opposition   in

response. Rec. Doc. 18. Defendants filed a reply. Rec. Doc. 27.

                            LAW AND ANALYSIS

       Summary   judgment    is   appropriate     when    “the   pleadings,

depositions, answers to interrogatories, and admissions on file,

together with the affidavits, if any, show that there is no genuine

issue as to any material fact and that the moving party is entitled

to judgment as a matter of law.” Celotex Corp. v. Catrett, 477

U.S. 317, 322 (1986) (quoting Fed. R. Civ. P. 56(c)). A genuine

issue of material fact exists if the evidence would allow a

reasonable jury to return a verdict for the nonmoving party.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). When

the movant bears the burden of proof, it must “demonstrate the

absence of a genuine issue of material fact” using competent

summary judgment evidence. Celotex, 477 U.S. at 323. But “where

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the non-movant bears the burden of proof at trial, the movant may

merely point to an absence of evidence.” Lindsey v. Sears Roebuck

& Co., 16 F.3d 616, 618 (5th Cir. 1994). When the movant meets its

burden, the burden shifts to the non-movant, who must show by

“competent summary judgment evidence” that there is a genuine issue

of material fact. See Matsushita Elec. Indus. Co., Ltd. v. Zenith

Radio Corp., 475 U.S. 574, 586 (1986); Lindsey, 16 F.3d at 618.

     Louisiana Civil Code Article 3542 provides the general rule

on resolving conflicts of law in tort or delictual actions, stating

that they shall be “governed by the law of the state whose policies

would be most seriously impaired if its law were not applied.” La.

C.C. Art. 3542. However, the commentary on Article 3542 explains

that, where applicable, the specific rules of Articles 3543-3546

shall prevail over Article 3542, because they            “are a priori

legislative determinations of ‘the state whose policies would be

most seriously impaired if its law were not applied’.” Id. at

Subsection (b) to Revision Comments–1991. Article 3545 provides

the specific choice-of-law rule for product liability cases. It

states that the law of Louisiana shall apply:

     (1) when the injury was sustained in this state by a
     person domiciled or residing in this state; or (2) when
     the product was manufactured, produced, or acquired in
     this state and caused the injury either in this state or
     in another state to a person domiciled in this state.

La. C.C. Art. 3545.



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      Article 3547, however, provides an escape from the choice-

of-law    rules     of    Articles       3543-3546       for   certain   “exceptional

cases”. Article 3547 states that the law applicable under Articles

3543-3546 shall not apply if:

      from the totality of the circumstances of an exceptional
      case, it is clearly evident under the principles of
      Article 3542, that the policies of another state would
      be more seriously impaired if its law were not applied
      to the particular issue. In such event, the law of the
      other state shall apply.

La. C.C. Art. 3547.

      A. Louisiana Law Applies

      Louisiana Civil Code Article 3545 states that Louisiana law

applies to cases where the injury was sustained in Louisiana by a

person domiciled or residing in Louisiana. It is undisputed that

the car accident at issue in this case occurred in Montz, Louisiana

and both plaintiffs were Louisiana residents at the time of the

accident. Rec. Doc. 12-1 at 2; Rec. Doc. 2 at 2. Additionally,

Article 3545 states that Louisiana law also applies when the

product    was    acquired        in    Louisiana    and       caused   injury   either

in Louisiana or to a person domiciled in Louisiana. In this case,

it   is undisputed that the vehicle was purchased in Metairie,

Louisiana     and        caused        injuries     in     Montz,       Louisiana    to

plaintiffs who are domiciled in Louisiana. Rec. Doc. 12-1 at 2;

Rec. Doc. 12-2 at 7. Therefore, under both prongs of Article

3545, Louisiana law should apply.


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       The Louisiana Products Liability Act (“LPLA”) establishes the

exclusive       theories     of     liability        for    manufacturers       for     damage

caused     by    their     products.      See       LA.    R.S.      §2800.52.    The    LPLA

establishes theories of liability for claims based on construction

or composition, design, inadequate warning, and nonconformity to

express warranty. See La. R.S. §2500.55-58. The LPLA does not allow

recovery        of   punitive       damages,        as     courts    in     Louisiana    have

repeatedly recognized. See Shively v. Ethicon, Inc., 2018 WL

6816083,        at   *4     (W.D.    La.    Dec.          27,     2018);    McLaughlin      v.

GlaxoSmithKline, LLC, 2014 WL 669349, at *3 (W.D. La. Jan. 6,

2014); Pierre v. Medtronic, Inc., 2018 WL 1911829, at *5 (E.D. La.

Apr. 23, 2018); Bladen v. C.B. Fleet Holding Co., 487 F. Supp. 2d

759, 770 (W.D. La. 2007); Cheeks v. Bayer Corp., 2003 WL 1748460,

at   *1    (E.D.     La.    Mar.    28,    2003).

       Plaintiffs acknowledge that punitive damages under the LPLA

are now allowed. However, they argue that the LPLA should not apply

to their punitive damages claim, and we should instead apply the

laws      of    either     California      or       Tennessee       under    Article    3547.

Therefore, absent the application of Article 3547, both parties

agree that punitive damages would not be allowed.



       B. Article 3547 Does Not Apply

       As noted earlier, Louisiana Civil Code Article 3547 applies

only to “exceptional case[s]” where “it is clearly evident” from

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the totality of the circumstances that the policies of another

state “would be more seriously impaired” if its law were not

applied. In a nearly identical argument as here for the application

of Article 3547, the Western District of Louisiana considered and

rejected it. Shively v. Ethicon was a products liability case

involving an allegedly defective medical device. See Shively v.

Ethicon, Inc., 2018 WL 6816083, at *1 (W.D. La. Dec. 27, 2018).

Plaintiffs      were   Louisiana   residents       who   claimed   they   were

implanted with a defective medical device in Louisiana that caused

them serious injuries. They brought a products liability case

against   the    New   Jersey   based       manufacturer   seeking   punitive

damages. The Shively plaintiffs argued that Article 3547’s escape

mechanism permitted the application of New Jersey’s law on punitive

damages in their case. Id. The Court held that plaintiffs’ case

was “simply not the kind of truly exceptional case to which Article

3547 was intended to apply.” Id. at *5. The Court explained that

“[n]umerous products liability actions are brought in Louisiana

each year,” many involving products manufactured out of state that

have caused injury to Louisiana residents. Id. Therefore, while

recognizing     that   New   Jersey   had     an   interest   in   preventing

manufacturers of defective products from placing them in the stream

of commerce and failing to warn of the dangers associated with

such products, the Court found this interest was “not so great as



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to transform this into an exceptional case which trumps Article

3545.” Id.

       This     Court      finds   the      Western        District       of    Louisiana’s

reasoning persuasive here. There is nothing exceptional about the

interests       of     California      or    Tennessee            in    this      case      that

distinguishes them from those present in numerous other products

liability cases. While we recognize, as the Shively court did,

that California and Tennessee have an interest in deterring the

manufacturers         of   defective     products,         this        interest      does    not

overcome      Louisiana’s      interests         in    a   case    where       the    injuries

occurred in Louisiana, the defective product was acquired in

Louisiana, and the plaintiffs are Louisiana residents. Plaintiffs

point to defendants’ actions in allegedly continuing to install

the defective airbags as evidence that this case is “exceptional”.

Rec. Doc. 18 at 6-7. However, the relevant consideration for the

Court in this analysis is the interests of the foreign states, not

the    nature    of     defendants’      alleged        conduct.        The    interests     of

California and Tennessee that would arguably be impaired in this

case by not permitting plaintiffs to seek punitive damages are

identical to the interests arguably impaired in every products

liability case involving Louisiana residents and an out-of-state

manufacturer.         There   is   nothing       exceptional           about    the    foreign

states interests in this case that would outweigh Louisiana’s

interests.      Professor      Symeonides’            scholarly        article,      cited   by

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plaintiffs, is not outcome determinative. While the article posits

that “it is theoretically possible for a court to award punitive

damages under a foreign law in a products case that is otherwise

governed by Louisiana law,” Professor Symeonides qualifies this

hypothetical statement by limiting it to only those situations

where “the court is convinced that . . . the case is exceptional

enough to warrant invoking the escape clause of article 3547.”

Rec. Doc. 18 at 5. We do not find this case to be “exceptional

enough” – using the Professor’s qualifier - to warrant invoking

the escape clause for the reasons discussed above. Further, the

article does not provide any new information that would alter our

analysis.

     Additionally, plaintiffs do not provide any relevant basis

for the request for discovery on this matter. Plaintiffs simply

state that discovery is needed “to determine whether the Court

should    apply   California     or    Tennessee   law”   and    “to   establish

whether    and    to   what   extent    Defendants’    conduct    warrants   the

application of a foreign state’s punitive damages law.” Rec.

Doc. 18 at 8. Further discovery into defendants’ conduct will

not change the law on this issue and there are no other specific

areas     of   discovery      that    would   impact   the   above     analysis.

Accordingly, the LPLA applies and punitive damages are thereby

disallowed.



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 New Orleans, Louisiana this 20th day of June, 2019



                              ___________________________________
                              SENIOR UNITED STATES DISTRICT JUDGE




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